

People v Edmond (2023 NY Slip Op 51087(U))



[*1]


People v Edmond (Sheldon)


2023 NY Slip Op 51087(U)


Decided on October 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570918/18

The People of the State of New York, Respondent,
againstSheldon Edmond, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Josh E. Hanshaft, J., at plea; Marisol Martinez Alonso, J., at sentencing), rendered October 4, 2018, convicting him, upon a plea of guilty, of forcible touching, and imposing sentence.




Per Curiam.
Judgment of conviction (Josh E. Hanshaft, J., at plea; Marisol Martinez Alonso, J., at sentencing), rendered October 4, 2018, affirmed. 
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We have reviewed this record and agree with defendant's assigned counsel that there are no nonfrivolous issues that could be raised on this appeal. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 16, 2023









